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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, JARRETT LOFTON,
REV. CLEE EARNEST LOWE, DR. ALICE
WASHINGTON, STEVEN HARRIS, ALEXIS
CALHOUN, BLACK VOTERS MATTER
CAPACITY BUILDING INSTITUTE, and THE
LOUISIANA STATE CONFERENCE OF THE
NAACP,


                                 Plaintiffs,

                                                           Civil Action No. 3:22-cv-00178
v.                                                         SDD-SDJ



R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana,


                                 Defendant.




                       NOTICE OF DEPOSITION UNDER FED. R. CIV. P. 30(b)(6)

            PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

     Procedure, counsel for Plaintiffs in the above-captioned matters will proceed to take the deposition

     of the Louisiana Secretary of State through one or more officers, directors, managing agents, or other

     persons who shall be designated to testify on the Secretary of State’s behalf regarding all information

     known or reasonably available to the Secretary of State with respect to the topics identified in Exhibit

     A. The deposition will be held via Zoom or similar videoconferencing platform on August 18, 2023,

     beginning at 9 am CDT, with the witness appearing at 628 St. Louis Street, Baton Rouge, LA 70802

     by agreement of the parties. By noticing a deposition on the limited topics in Exhibit A and as

     allowed by the Scheduling Order (Nairne, ECF No. 110 at 2).
                                                                                                Exhibit
                                                                                              Hadskey 01
                                                       1                                         SoS 30(b)(6)
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Date: August 7, 2023                         Respectfully submitted,

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                                           EXHIBIT A


                                         DEFINITIONS
Except as specifically defined below, the terms used in the topics shall be construed and defined
in accordance with the Federal Rules of Civil Procedure, wherever applicable. Any terms not
defined shall be given their ordinary meaning. The singular includes the plural and vice versa. The
masculine includes the feminine and neutral genders. The past tense includes the present tense
where the clear meaning is not distorted by change of tense. As used herein, the terms below have
the following meaning:

1. “Absentee ballots” refer to ballots received by voters in advance of Election Day and returned
   via mail or hand delivery.

2. “Date” means the exact day, month, and year, if ascertainable, or, if not, the best available
   approximation (including relationship to other events).

3. “Describe” means to provide all knowledge or information about the subject.

4. “Document” is defined to be synonymous in meaning and the same in scope as the term
   'document' as used in Rule 34 of the Federal Rules of Civil Procedure and the phrase “writings
   and recordings” as defined by Rule 1001 of the Federal Rules of Evidence, and includes
   without limitation any kind of written, typewritten, printed, graphic, or recorded material
   whatsoever, including without limitation notes, text messages, electronic mail, memoranda,
   letters, reports, studies, electronic mail messages, telegrams, publications, contracts, manuals,
   business plans, proposals, licenses, drawings, designs, data sheets, diaries, logs, specifications,
   brochures, product or service descriptions, periodicals, schematics, blueprints, recordings,
   summaries, pamphlets, books, prospectuses, interoffice and intra office communications,
   offers, notations of any sort of conversations, working papers, applications, permits, surveys,
   indices, telephone calls, meeting minutes, databases, electronic files, software, transcriptions of
   recordings, computer tapes, diskettes, or other magnetic media, bank checks, vouchers, charge
   slips, invoices, expense account reports, hotel charges, receipts, freight bills, agreements,
   corporate resolutions, minutes, books, binders, accounts, photographs, and business records.
   This shall include all non-identical copies, no matter how prepared; all drafts prepared in
   connection with such documents, whether used or not; and any deleted or erased documents
   that may be retrieved from hard drives, floppy disks, electronic back-up files, or any other
   back-up systems, regardless of location, together with all attachments thereto or enclosures
   therewith, in your possession, custody, or control or any of your attorneys, employees, agents,
   or representatives.

5. “Election cycle” refers to the phase of the electoral process beginning the day after the date of
   the most recent general election and ending on the date of the next general election. For
   example, the 2023 election cycle began on December 11, 2022, and will end on November 19,
   2023.




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6. “Local Election Officials” refers to individuals who administer elections on the parish-level in
   Louisiana including but not limited to clerk of court, registrar of voters, parish president, as
   well as their employees, designees, and agents.

7. “Regular Election” means primary and general election held every four years to fill the offices
   of the State Legislature, both the State Senate and the State House of Representatives.

8. “State Officials” means: the former, current, and/or future Louisiana Governor, and their staff,
   employees, contractors, consultants, advisors, or agents; the former, current, and/or future
   Louisiana Attorney General, and their staff, employees, contractors, consultants, advisors, or
   agents; Representatives of the Louisiana Senate and/or the Louisiana House of
   Representatives; and/or any current or former member, employee, contractor, advisor, agent,
   or representative of the Louisiana Senate, Louisiana House of Representatives, or any current
   or former committee, office, or unit of those entities; the current or former Louisiana Secretary
   of State, and their staff, employees, contractors, consultants, advisors, agents, and
   representatives; other Louisiana state officials tasked with election administration.

9. “Special Election” means an election called to fill vacancy in the office of a state legislator
   (both in the State Senate and the State House of Representatives) that occurs with six months
   or more of the term remains unexpired, as described under R.S. 18:601. This term shall include
   both primary and general elections held to fill vacancy as described above.

10. “Voter” means any registered voter in Louisiana and all persons who are eligible to register to
    vote by the close of discovery in this case.

11. “You” or “Your” means the Secretary of State of Louisiana, including any officers, agents,
    advisors, employees, representatives, consultants, contractors, or any person or entity acting or
    purporting to act on the Secretary of State’s behalf or subject to their control.

12. The terms “all,” “any” and “each” shall each be construed as encompassing any and all.

13. The terms “and” and “or” shall be construed either disjunctively or conjunctively, as necessary,
    to bring within the scope of the topic all responses that might otherwise be construed to be
    outside of its scope.

14. The term “including” shall mean “including, but not limited to.”

15. The terms “regarding,” “related to,” and “relating to” shall be construed in the broadest sense
    to mean referring to, describing, concerning, reflecting, alluding to, responding to, connected
    with, commenting on, with respect to, about, discussing, showing, analyzing, constituting,
    and/or evidencing, in any manner, whether directly or indirectly, the subject matter of the
    topic.




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                                              TOPICS

I.   The following policies, procedures, regulations, guidance, and training regarding the
     Secretary of State’s implementation of new State Senate and State House district maps:

     A. All steps or activities required of You—and the steps or activities required of other State
        Officials, Local Election Officials, candidates, and any other persons involved in
        administering elections in this litigation to the extent You have knowledge of or have relied
        directly or intend to rely directly upon them—to implement a new redistricting plan from
        the time it is enacted into law or ordered by a court until the completion of the first election
        under such new redistricting plan.

     B. Voting and candidate qualifying procedures, including:

              a. Deadlines and the reasons for the deadlines for the candidate-qualifying and/or
                 primary dates for the 2023 elections to be held under the Louisiana State Senate
                 and Louisiana State House of Representative maps, including Gubernatorial
                 Primary and Gubernatorial General elections.

              b. Deadlines and the reason for the deadlines for candidate-qualifying and/or primary
                 dates for special elections to be held under the Louisiana State Senate and
                 Louisiana State House of Representative maps.

              c. Anticipated deadlines and the reason for the deadlines for candidate-qualifying
                 and/or primary dates for the 2027 elections to be held under the Louisiana State
                 Senate and Louisiana State House of Representative maps.

              d. Procedures for determining deadlines for all regular elections events, such as but
                 not limited to, primary and general elections, and including but not limited to
                 candidate filing deadlines, nominating period deadlines, and voting periods.

              e. Procedures for determining deadlines for special elections events, both general
                 and primary elections, including but not limited to candidate filing deadlines,
                 nominating period deadlines, and voting periods.

              f. The policies, processes, and procedures involved in allocating voters to new
                 districts and notifying voters about their new districts, as well as the time and staff
                 required to complete that process.

              g. Any overlap in the voting and candidate qualifying procedures for State Senate
                 and State House elections and U.S. congressional elections.

     C. Ballot printing and sending deadlines and procedures including:

              a. Policies, processes, and procedures, as well as the time and staff required, for
                 creating ballot combinations, as well as proofing, revising, and printing ballot for
                 any and all Louisiana elections.

              b. Policies, processes, and procedures, as well as the time and staff required, for
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             proofing, revising, printing, and sending absentee ballots including Uniformed and
             Overseas Citizens Absentee Voting Act (“UOCAVA”) ballots and emergency
             absentee ballots for any and all Louisiana elections.

        c. Deadlines, policies and procedures for printing and sending Overseas Citizens
           Absentee Voting Act (“UOCAVA”) ballots for primary and general regular
           elections as well as the time and staff required to complete that process.

        d. Deadlines, policies and procedures for sending UOCAVA ballots for special
           elections, including primary and general special elections, as well as the time and
           staff required to complete that process.

        e. Deadlines, policies and procedures for printing and sending absentee ballots for
           regular elections, as well as the time and staff required to complete that process.

        f. Deadlines, policies and procedures for printing and sending absentee ballots for
           special election, as well as the time and staff required to complete that process.

        g. Deadlines, policies, and procedures for printing and sending ballots to polling
           locations for regular election, as well as the time and staff required to complete that
           process.

        h.    Deadlines, policies, and procedures for printing and sending ballots to polling
             locations for special elections, as well as the time and staff required to complete
             that process.

        i. Any overlap in the deadlines, polices, and procedures for printing and sending
           ballots for State Senate and State House elections and U.S. congressional
           elections.

D. Polling place polices and procedures:

        a. Any involvement Your office has in the designation of polling places for State
           Senate and State House polling places, as well as that of other State Officials and
           Local Election Officials to the extent You have knowledge of or have relied
           directly or intend to rely directly upon measures taken by them, and the policies,
           processes, and procedures for such designation, as well as the staffing time
           required to complete that process.

        b. Polling locations that were changed or split from the beginning of the 2019 election
           cycle to present; policies, processes, and procedures, as well as the time and staff
           required, for changing a polling location; and the availability during the 2024
           election cycle of facilities currently designated or potentially designable as polling
           locations.

        c. Your knowledge of any overlap between polling places for State Senate, State
           House, and U.S. congressional elections and any polices and procedures related to
           overlapping poling places.


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      E. Any other election-related resource requirements, including but not limited to:

              a. The number of staff hours for each staff person or type or category of staff person
                 involved in carrying out the election-related responsibilities of the Secretary of
                 State’s office during a special election. Your election-related activities that
                 occurred between the sending of absentee ballots and the date of the general
                 election in the 2019 and 2023 election cycles.

              b. Whether and how the resources and time required to implement new State Senate and
                 State House maps vary depending on the degree of change from the prior maps.

              c. Your election-related staffing levels from January 1, 2019 to present, and
                 its anticipated staffing levels from present to D e c e m b e r 2024, including how
                 that staff is allocated among Your election-related functions.

              d. Your experience hiring election-related staff during the 2019 and 2023 election
                 cycles.

              e. Any overlap in resources to run State House, State Senate, and to run U.S.
                 congressional elections.

              f. Allocation of election responsibilities between your office and Local Election
                 Officials.

II.   The following processes, policies, and procedures You undertook or participating in
      regarding the implementation of new State Senate and State House maps that applied or
      were used in prior election cycles, as well as that of other State Officials and Local
      Election Officials to the extent You have knowledge of or have relied directly or intend
      to rely directly upon measures taken by them:

      A. The experience of and procedures for implementing new State Senate and State House
         districts since 2011, including in response to court orders.

      B. Election calendars for election cycles after 2011.

      C. The timing, including deadlines and actual completion dates, of relevant processes
         regarding the implementation of new House State and House Senate maps for the 2020-
         2022 and 2010-2011 redistricting cycles, including but not limited to: updating street
         segments; notifying voters about their new districts; creating ballot combinations; proofing,
         revising, and printing ballots; proofing, revising, printing, and sending absentee ballots;
         and verifying candidate residency and other qualifications.

 III. Knowledge of communication between your office and any members of the State House
      or State Senate about maps for the State House or the State Senate.

      A. Any written or oral communication between Your office any members or staff of the State
         Senate or State House about the new State Senate or State House maps prior to their passage
         in March 2022.


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B. Any written or oral communication between Your office any members or staff of the State
   Senate or State House about the new State Senate or State House maps after their passage
   in March 2022.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2023, a true and correct copy of the foregoing was served

on all counsel of record by electronic mail.


                                                      /s/ T. Alora Thomas-Lundborg
                                                      Alora Thomas-Lundborg




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